C
ttfos/aots aaa taxes sax

ase 1:13-cv-O7073-.]GK Document 80-4 Filed 11/07/15 Page 1 of 14

UNI'I`ED STATES DISTRJCT CUURT

SOUTHERN DISTRICT DF MW YUR.K.
____________________________________________ j{

EDMIN AL.ICEA,
ts-av-':o':s (Iot~t) (owo)

-against-
DECLARATION OF

TI'IE CITY OI*` NEW YORK, ERMAMQYA

POI..ICE DFFICER ALEJANDR.O RIVAS (TAX 92598?),
IJETECTIVH RICHARD BABOOLAL ('I`AX 924906),
POMCB_SERGEANT FREDY CHUZ (TAX 915523).
POLICE OFFICER PAUL ARICG _{TAX 903353},

POLICB OFFICER 'I`H.R.R.ENCE MCGRATH (TAX 9241|39),
and ]"’OLICB DFFICER BRBNDA.N _RBGAN {TAX 904868),

De`f`entlants.
_____________________________________________ x

Plaitttiff EDMIN ALICEA, herebyr deelares, under penalty of perjury and pursuant
to 28 USC § 1?46, that the foregoing is true and eon‘oot:

l. I am over the age of 13 and a resident ofNew Yotk state

2. 1 make this declaration on my personal knowledge and am competent to
testify on the matters stated.

3. I have reviewed the photographs attaohed to my declaration as Exhibits 1-2.

4, 1 recognize the person portrayed in the photographs attached as Exhil:iita 1»~2.

5. 'I`his person is one ofthe three police officers who were gatesth when Iwas
amsted on Maroh 27, 2012 on 172nd Street between Broadway and Fort Washingtoo Avenuo in
New Yot'k (“Soene of the Artest"). `

6. Bpoeif'toally, this is the police offioer who I identified in my deposition dated
August 13, 2014 as the “[s]hort,‘stocky, Hispanio" officer who “ was sitting in the book ofthe oar”

and then same out the ear when 1 was arrested (Aug-. 14, 2014 Dep. Tr. of Edmin A!ieea ("Alioea

E!Ml/DH{

[‘.-

Case 1:13-cv-O7073-.]GK Document 80-4 Filed 11/07/15 Page 2 of 14

11/06/2015 rear 12=25 rata 1002/ssa

s

Dep. Tr.") at 76:1;~5.}
7. l have reviewed the photographs attached to my acceleration as Erthlbits 3-4.
8. l recognize the person portrayed in the photographs attached as E:thibits 3~4.
9. “l`hls is the police officer who drove the vehicle taking me from the Scooc of
the Arrest to the 33rd Precinct He is the officer with “[s]andy broom hair {and a] busby mustachc”
Who “came out the driver"s si,de°‘ When IWas being hendeuffed." (Alieea Dep. 'I`r. at 73rd-l 0.)
lU. Ihave reviewed the photographs attached to my declaration ss E:t]:tibits 5-6.
l `l. It'eoogoiae the person portrayed 'ttt the photographs attached ss Exhlbits 5~6.
12. 'I`his is the first police officer Who approached me at the Soene of the Arrest.
Hc is the officer with the “spike hair [snd] shoved sides” who choked me and handcuffed my hands
boland my back. (Alices Dep. Tr. at 63:5-70:8.) 'I`his is the same police officer who chen “grabbed
the handcuffs and yanked toy hands up so Iwas standing on my tippy toes and I screamed sad it felt
lilco Ihad a pop earning out of roy shoulder.” (Jd. at70:21-'?1:1.)

E:tecuted on: November 5, 2015
New Yorlc, Now Yorlt

   

57

solem At;ltoa `

...2.~

Case 1:13-cv-O7073-.]GK Document 80-4 Filed 11/07/15 Page 3 of 14

EXH| z 'l

Pag_e 4 of 14

 

 

Case 1:13-cv-O7073-.]GK Document 80-4 Filed 11/07/15 Page 5 of 14

EXHI 2 2

Case 1:13-Cv-O7073 .]GK Document 80-4 Filed 11/07 5 Page 6 of 14

 

Case 1:13-cv-O7073-.]GK Document 80-4 Filed 11/O7/15 Page 7 of 14

` EXHl l'» 3

Case 1:13-cv-O7073-.]GK Document 80-4

 

 

Case 1:13-cv-O7073-.]GK Document 80-4 Filed 11/O7/15 Page 9 of 14

1 EXHI 2 4

Case 1:13-cv-O7073-.]GK Document 80-4 Filed 11/O7/ 5 Page 10 of 14

m

 

Case 1:13-cv-O7073-.]GK Document 80-4 Filed 11/O7/15 Page 11 of 14

 

  

¢V .

Case 1:1

 

-O7073-.]GK Document80-4

 

 

Filed 11/O7/15 Page 12 of 14

     

 

Case 1:13-cv-O7073-.]GK Document 80-4 Filed 11/O7/15 Page 13 of 14

 

Case 1:13-cv-O7073-.]GK Document 80-4 Filed 11/O7/15 Page 14 of 14

seas

 

